Case: 1:17-md-02804-DAP Doc #: 1964-18 Filed: 07/23/19 1 of 3. PageID #: 163656




                              EXHIBIT 230
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1964-18 Filed: 07/23/19 2Confidentiality
                                          to Further      of 3. PageID #: 163657
                                                                              Review

     1                     UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
     2                              EASTERN DIVISION
     3    IN RE: NATIONAL                       )     MDL No. 2804
          PRESCRIPTION OPIATE                   )
     4    LITIGATION                            )     Case No.
                                                )     1:17-MD-2804
     5                                          )
          THIS DOCUMENT RELATES TO              )     Hon. Dan A. Polster
     6    ALL CASES                             )
                                                )
     7
     8
                             THURSDAY, DECEMBER 13, 2018
     9
    10             HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                               CONFIDENTIALITY REVIEW
    11
    12              Videotaped Deposition of DONALD STEVEN
    13      MORSE, held at the Courtyard by Marriott
    14      Hotel, 300 East 4th Street, Austin, Texas,
    15      commencing at 8:11 a.m., on the above date,
    16      before Susan Perry Miller, Registered
    17      Diplomate Reporter, Certified Realtime
    18      Reporter and Notary Public.
    19
    20
    21                                   __ __ __
    22                       GOLKOW LITIGATION SERVICES
                       877.370.3377 ph | 917.591.5672 fax
    23                               deps@golkow.com
    24
    25

  Golkow Litigation Services                                                 Page 1
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1964-18 Filed: 07/23/19 3Confidentiality
                                          to Further      of 3. PageID #: 163658
                                                                              Review

     1      visiting any CVSs.
     2              Q.        How about in 2011, did you
     3      visit any CVSs --
     4              A.        Not that I recall.
     5              Q.        -- for on-site investigation?
     6              A.        Not that I recall.
     7              Q.        Okay.     It says, "Specifically,
     8      on July 28, 2009, DEA conducted a compliance
     9      review of Cardinal Health's distribution
    10      center located in Peabody, Massachusetts."
    11                        You know that Cardinal had a
    12      Peabody, Massachusetts distribution center.
    13      Is that right?
    14              A.        Yes.
    15              Q.        "DEA investigators asked the
    16      distribution center for due diligence files
    17      for a number of chain pharmacies, but
    18      Cardinal Health could not produce the
    19      requested due diligence files.               Consequently,
    20      investigators spoke with Michael Moné,
    21      Quality and Regulatory Affairs Vice
    22      President, Anti-Diversion & Supply Chain
    23      Services, Dublin, Ohio, via teleconference.
    24                        "During the teleconference,
    25      Mr. Moné stated that Cardinal Health

  Golkow Litigation Services                                              Page 112
